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 Fill in this information to identify the case:

                          Danielle Boyce aka Danielle Williams
 Debtor 1

 Debtor 2
 (Spouse, if filing)


 United States Bankruptcy Court for the:         EASTERN DISTRICT OF ARKANSAS
                                                                                        (State)
 Case number              20-13683



 Official Form 410S1_
 Notice of Mortgage Payment Change                                                                                                                      12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor:            First Guaranty Mortgage Corporation by and through its              Court claim no. (if known): 13
                              servicing agent Rushmore Loan Management Services,
                              LLC
 Last 4 digits of any number you use to
 identify the debtor’s account:                                                                   Date of payment change:
                                                        6485
                                                                                                  Must be at least 21 days after date       8/1/2021
                                                                                                  of this notice


                                                                                                  New total payment:
                                                                                                                                            $1,911.55
                                                                                                  Principal, interest, and escrow, if any


 Part 1:          Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?
          No.
          Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
               the basis for the change. If a statement is not attached, explain why:

                  Current escrow payment: $ 547.39                                      New escrow payment: $ 578.81


 Part 2:          Mortgage Payment Adjustment

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?
          No.
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
               attached, explain why:

                  Current Interest rate:                              %                New Interest rate:                               %

                  Current principal and interest payment: $                            New principal and interest payment: $


 Part 3:          Other Payment Change

 3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              No.
              Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                       Reason for change:
                       Current mortgage payment: $                                          New mortgage payment: $




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Debtor 1             Danielle Boyce aka Danielle Williams                                    Case number (if known)   20-13683
                     First Name    Middle Name    Last Name




  Part 4:               Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.

            I am the creditor.
            I am the creditor’s attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.



  ✖ /s/ LaDawna Fleckenstein                                                        Date       7/7/2021



  Print:LaDawna           Fleckenstein                                               Title     Attorney for Creditor
        First Name                  Middle Name           Last Name



Company      McCarthy & Holthus LLP
 Address    202 North Walton Blvd., Suite 14
            Number                Street

            Bentonville, AR 72712
            City State ZIP Code



Contact phone   214-291-3800                                                         Email MHTbankruptcy@McCarthyHolthus.com




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Debtor 1     Danielle Boyce aka Danielle Williams                       Case number (if known)   20-13683
             First Name   Middle Name   Last Name



                                                       CERTIFICATE OF SERVICE

           I DO HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Mortgage Payment Change was served on the
parties listed below by the United States Mail, first class postage prepaid or electronically via CM/ECF on 7/7/2021:

By First Class Mail Postage Prepaid:

Danielle Boyce
209 Suncrest Street
Bryant, AR 72022

By CM/ECF:

COUNSEL FOR DEBTOR(S)
American Bankruptcy Associates PLLC.
Attn: Skelton & Stevens Legal Group PLLC.
2615 N. Prickett Road Suite 2
Bryant, AR 72022

TRUSTEE
Jack W. Gooding
P.O. Box 8202
Little Rock, AR 72221

U.S. TRUSTEE
200 W Capitol, Ste. 1200
Little Rock, AR 72201


ALL PARTIES REQUESTING NOTICE if designated for electronic service

                 MCCARTHY & HOLTHUS, LLP
                 LaDawna Fleckenstein
                 LaDawna Fleckenstein SBN AR-2014039
                 MHTbankruptcy@mccarthyholthus.com
                 1255 West 15th Street Suite 1060
                 Plano, TX 75075
                 Phone: (214) 291-3800
                 Fax: (214) 291-3801
                 Atty File No.: AR-20-22549
                 ATTORNEYS FOR CREDITOR
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